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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA

MANOJ AGGARWAL et al,                                 :
    Plaintiffs                                        :
                                                      :
v.                                                    :      Case No. 1:12-cv-60
                                                      :
OM SIKKA et al.                                       :
     Defendants                                       :
                                                      :

                            FIRST AMENDED
                 COMPLAINT FOR DAMAGES FOR BREACH OF
                  CONTRACT, FRAUD, AND RELIEF UNDER
          THE RACKETEERING INFLUENCED CORRUPT PRACTICES ACT
                    AND THE ROBINSON-PATMAN ACT
                              (Jury Demand)

       Come now the Plaintiffs by undersigned legal counsel and, pursuant to this First

Amended Complaint, sue the Defendants for damages arising out of the purchase of a gasoline

service station and damages related to competition in the retail gasoline market as follows:

       1. Plaintiffs Manoj and Anu Aggarwal are competent adults, husband and wife, residing

at the address in the Caption. They are the holders of all of the shares of Plaintiff Energy Depot,

Inc.

       2. Plaintiff Energy Depot, Inc. is a Virginia corporation with its principal place of

business listed in the Caption.

       3. Defendants Om Sikka, Kamla Sikka and Yash Paul Sikka are competent adults

residing at the address listed in the Complaint. Upon information and belief, all of these

individuals are related and all of these individuals and one or more of these individuals are the

holders of all of the shares of Defendant Auto Fuels, Inc.



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       4. Defendant Auto Fuels, Inc. is a Virginia corporation with its principal place of

business as listed in the Caption.

       5. Defendants Om Sikka, Kamla Sikka and Yash Paul Sikka are shareholders, directors,

employees, contractors and/or authorized agents of Defendant Auto Fuels, Inc.

       6. Defendants Om Sikka, Kamla Sikka and Yash Paul Sikka have a personal financial

stake in Defendant Auto Fuels, Inc. and they personally benefit from transactions involving

Defendant Auto Fuels, Inc.

       7. Defendant PW Petroleum, Inc. is a Virginia corporation with its principal place of

business as listed in the Caption.

       8. Defendant Chady Nasr is a competent adult residing at the address listed in the

Caption. Upon information and belief, this Defendant is related to Defendant Carine Moussa

a/k/a Carine Nasr and one or both of these individuals are the holders of all of the shares of

Defendant PW Petroleum, Inc.

       9. Defendant Carine Moussa a/k/a Carine Nasr is a competent adult residing at the

address listed in the Caption.

       10. Defendant Petroleum Marketing Group, Inc. is a Virginia corporation with its

principal place of business as listed in the Caption.

                                     JURISDICTION & VENUE

       11. Jurisdiction is proper under 28 USC §1337, and 28 USC §1331, and 28 USC §1367

and 18 USC §1965.

       12. Venue is proper pursuant to 28 USC §1391.




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                            FACTS COMMON TO ALL COUNTS

       13. On or about July 22, 2008, Defendants Om Sikka, Kamla Sikka, Yash Paul Sikka and

their corporation, Auto Fuels, Inc., and/or one or more of these individuals and entity, closed as

sellers, on the purchase of the business assets of a then-branded Crown gasoline service station

and convenience store located at 13295 Trowbridge Dr., Woodbridge, VA 22192 (herein the

“Premises”). At that closing, they purchased these assets from Defendant PW Petroleum, Inc.

and/or Chady Nasr and/or Carine Moussa a/k/a Carine Nasr. In this Complaint, the individuals

will be referenced collectively as “the Sikkas,” Auto Fuels, Inc. will be referenced as “AFI,” PW

Petroleum, Inc. will be referenced as “PWP,” Chady Nasr will be referenced as “Nasr” and

Carine Moussa a/k/a Carine Nasr will be referenced as “Moussa a/k/a Carine Nasr.”

       14. On February 13, 2010, the Plaintiffs signed a Business Sales & Purchase Agreement

(the “Purchase Agreement” herein) with Defendant Om Sikka for the purchase of the business

conducted at the Premises, consisting of the gasoline service station and the convenience store.

In this Complaint, the gasoline service station, convenience store, and related businesses will be

referenced as the “ Business”. Business Brokers USA, Inc., a Virginia corporation, was engaged

by the Sikka Defendants to broker the sale of this gas station. All of the information and

documentation related to said sale was provided to Business Brokers, USA, Inc. by the Sikka

Defendants.

       15. Prior to signing the Purchase Agreement, Plaintiffs received a Confidential Business

Abstract bearing a date of October 5, 2009 from Business Brokers USA Inc. (herein “Business

Brokers”) and Sethi representing certain material financial information regarding the Business.

       16. The information contained in the Confidential Business Abstract contained


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representations which were materially false and misleading and the false and misleading

information was known by the Sikka Defendants to be false and misleading, and this information

was deliberately, or as a result of gross negligence, or as a result of negligence, presented to the

Plaintiffs with the specific intent that the Plaintiffs rely upon this information in deciding to

acquire the Business and the Plaintiffs did, in fact, reasonably rely on this information when they

made a decision to acquire the Business.

       17. The Sikka Defendants had a duty to properly disclose the financial information

presented to the Plaintiffs or to inform the Plaintiffs of correct and accurate financial

information, or to unequivocally inform the Plaintiffs that they did not know whether or not this

information was accurate or not, and to disclose to the Plaintiffs information regarding the

wholesale pricing of motor fuel, which duty they breached.

       18. In the alternative, the information contained on the Confidential Business Abstract

contained representations which were materially false and misleading and the false and

misleading nature of this information was known, or should have been known by the Sikka

Defendants to be false and misleading, and this information was deliberately, or as a result of

negligence presented to the Plaintiffs despite the fact that these Defendants knew that the

Plaintiffs would rely upon this information in deciding to acquire the Business and the Plaintiffs

did, in fact, reasonably rely on this information when they made a decision to acquire the

Business. These Defendants had a duty to properly disclose the financial information presented

to the Plaintiffs or to inform the Plaintiffs of correct and accurate financial information, or to

unequivocally inform the Plaintiffs that they did not know whether or not this information was

accurate or not, and to disclose to the Plaintiffs information regarding the wholesale pricing of


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motor fuel, which duty they breached.

       19. In fact, the financial information related to the Business as alleged above was

materially false, misleading, and fraudulent and presented to the Plaintiffs by the Sikka

Defendants with the intent that the Plaintiffs rely on this information in their decision to acquire

the Business and the Plaintiffs did, in fact, detrimentally rely on this false and misleading and

fraudulent information in making a decision to purchase the Business.

       20. One such misrepresentation was the characteristics of the motor fuel supply

agreement assumed by the Plaintiffs in connection with purchasing the Business

       21. Plaintiffs were not given a complete copy of the Motor Fuel Supply Agreement at

any time prior to Closing. One page document that was faxed to Plaintiffs by Chady Nasr in

September/October of 2010. That document clearly states the expiration date as 5 years later.

Chady Nasr only shared that 1 page of the entire contract with me. Plaintiffs became aware of

the fuel supply agreement issue because Mr. Pat Thompson, the owner of Quest Transport, an

affiliate and fuel transport company for Defendant PMG, had come to the Business in late

summer of 2010 as a representative of Defendant PMG, as acting District Manager for that area.

Plaintiffs had asked him to give them a better price for gasoline and show me the gas supply

contract. Mr. Thompson told Plaintiff Manoj Aggarwal there was nothing he could do to adjust

the price as the Motor Fuel Supply Agreement was in place. I then mentioned to him that I would

soon be looking for another supplier because I had a 5 year contract with PMG according to my

landlord, Chady Nasr. Mr. Thompson told Mr. Aggarwal that he was mistaken and that he had a

10 year contract. Mr. Aggarwal told Mr. Thompson that he wanted to see the contract. His reply

to Mr. Aggarwal was that the Motor Fuel Supply Agreement was “none of my business,” as it


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was a contract between Defendant PMG and Defendant Chady Nasr.

       22. Plaintiff then called Defendant Chady Nasr as everyone associated with this deal had

always told me it was a 5 year contract. That is when Defendant Chady Nasr faxed Plaintiff that

1 page. Plaintiff Aggarwal asked Defendant Nasr if he could see the entire contract. Defendant

Nasr refused to provide the entire contract.

       23. The representations concerning the 5-year term of the Motor Fuel Supply Agreement

were made to Plaintiffs by all Defendants.

       24. Additionally, the Nasr Defendants represented to the Plaintiffs that the Business was

operated profitably and confirmed the misrepresentations made by the Sikka Defendants.

       25. All such misrepresentations were made prior to the closing on the Business by the

Plaintiffs in connection with negotiating the terms of the various agreements related to such

closing.

       26. All of said false, misleading and fraudulent information and misrepresentation were

made by the said Defendants with the intent that the Plaintiffs rely on this misinformation to their

detriment.

       27. Additionally, all Defendants represented that Defendant PMG was a favorable

supplier of gasoline and other petroleum products and that the Plaintiffs would be benefitted by

entering into agreements with Defendant PMG to supply these products when, in fact, the

petroleum products and gasoline to be supplied by Defendant PMG were grossly overpriced as

alleged herein.

       28. Defendant PMG has a history of selling businesses using these techniques through

Business Brokers, Sethi and Raheja. This history constitutes an enterprise among these


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Defendants and their related corporate Defendants.

       29. Defendant PMG has a regular practice of identifying and targeting immigrants and

other foreign-born persons, engaging in scheme similar to the scheme set forth in this Complaint,

and taking hundreds of thousands of dollars in down payments and hundreds of thousands of

dollars in fuel overcharges and then driving said buyers out of business and then in some

instances operating the gasoline service stations through affiliates and contractors and then

reselling them again under the same conditions and using the same broker and accountant. This

history constitutes an enterprise among these Defendants and their related corporate Defendants.

       30. In order to induce the Plaintiffs to purchase Business, Defendant PMG represented to

the Plaintiffs that if they accepted an assignment up the Motor Fuel Supply Agreement, they

would be able to sell motor fuel profitably at the wholesale prices specified in said Agreement.

This misrepresentation was made by Abolhoussein Ejtemai, majority owner of the stock of

Defendant PMG, and by other employees and agents of Defendant PMG.

       31. Defendant PMG knew or should have known that the Plaintiffs would not be capable

of selling motor fuel profitably if they were required to purchase all of the motor fuel

requirements pursuant to said Agreement.

       32. Defendant PMG made these misrepresentations knowing that they were false and

misleading, intending the Plaintiffs to rely on these misrepresentations, and knowing that the

Plaintiffs will rely on these misrepresentations in deciding to purchase the Business and enter

into the Motor Fuel Supply Agreement.

       33. After acquiring the Business, the Plaintiffs discovered that, rather than being a

business which was profitable, generating a “Owner’s Net” of $120,000 a year, as stated in the


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Confidential Business Abstract and in other documents and information and representations

made by the Defendants, the Business was not profitable and was not capable of generating a

profit. In fact, for the year prior to the closing, calendar year 2009, Defendant Auto Fuels, Inc.

solely operated the Business, and for that year the Business showed a loss in excess of $30,000,

and total cash paid or available to the Sikka Defendants of just in excess of $34,000.

       34. The reason why the Business was not capable of generating a profit was because the

supply agreement with PMG resulted in the Business being required to purchase petroleum

products at an inflated wholesale price under an exclusive all-requirements supply agreement

with PMG. As a result, the Business was incapable of selling sufficient volume of petroleum

products in competition with neighboring gasoline service stations to make a profit and, in

addition, the Business was required to sell at a retail price which was in some instances lower

than the wholesale price for petroleum products, in order to generate business volume.

       35. Defendant PMG knew of this characteristic of the Business and as a result, sought an

successor to supply with motor fuel at the location, and participated in the misrepresentations

concerning pricing of the wholesale motor fuel to induce the Plaintiffs to purchase the Business

and lease the Business Premises from the Nasr Defendants and to find another purchaser after the

failure of the business conducted by the Sikka Defendants.

       36. The pricing conditions for petroleum products described above in Paragraph 22 of

this Complaint existed at the time when the Business was acquired by Defendants Om Sikka,

Kamla Sikka, Yash Paul Sikka and their corporation, Auto Fuels, Inc. and also when the business

was acquired by the Nasr Defendants.

       37. The pricing conditions for petroleum products sold by PMG under the exclusive


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agreement described above was at all times known to Defendants Om Sikka, Kamla Sikka, Yash

Paul Sikka and their corporation, Auto Fuels, Inc. and the Nasr Defendants.

       38. The Nasr and Sikka Defendants and PMG would benefit financially from finding a

successor to assume the Motor Fuel Supply Agreement because the retail motor fuel businesses

of the Nasr and Sikka Defendants had failed at this location.

       39. All Defendants knew that said pricing conditions prohibited the Business from being

operated profitably.

       40. All Defendants had a duty to disclose said pricing conditions as well as accurate

financial information regarding the operation of the Business to the Plaintiffs prior to the

Plaintiffs becoming obligated to purchase the Business.

       41. None of said Defendants disclosed said pricing conditions or accurate financial

information and, had they disclosed these matters, the Plaintiffs would not have purchased the

Business.

       42. Defendants PWP, and/or Nasr and/or Moussa a/k/a Carine Nasr where the owners of

the Premises where the Business was conducted.

       43. Said Defendants sold the Business to Defendants Om Sikka, Kamla Sikka, Yash Paul

Sikka and their corporation, Auto Fuels, Inc.

       44. Upon information belief, Defendants PWP, and/or Nasr and/or Moussa a/k/a Carine

Nasr were not able to operate the Business profitably and they made materially false and

misleading representations concerning the Business to Defendants Om Sikka, Kamla Sikka, Yash

Paul Sikka and their corporation, Auto Fuels, Inc. in order to induce these persons and entities to

purchase the Business and to lease the Premises from Defendants PWP, and/or Nasr and/or


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Moussa a/k/a Carine Nasr.

       45. Defendants Om Sikka, Kamla Sikka, Yash Paul Sikka and their corporation, Auto

Fuels, Inc. were not able to operate the Business profitably, and, as a result, they sold the

Business to the Plaintiffs to get out from under the unprofitable operations.

       46. The Plaintiffs interviewed Defendants PWP, and/or Nasr and/or Moussa a/k/a Carine

Nasr prior to purchasing the Business and these Defendants reinforced the false and misleading

representations concerning the favorable profitability of the Business as alleged in this Complaint

in order to induce the Plaintiffs to purchase Business and to continue to lease the Premises from

Defendants PWP, and/or Nasr and/or Moussa a/k/a Carine Nasr.

       47. Defendants PWP, and/or Nasr and/or Moussa a/k/a Carine Nasr knew and intended

that said favorable misrepresentations concerning the Business would induce the Plaintiffs to

purchase the business and said Defendants would have a continuing stream of rental income and

relief from liability under the Motor Fuel Supply Agreement.

       48. Said misrepresentations by Defendants PWP, and/or Nasr and/or Moussa a/k/a

Carine Nasr were reasonably relied upon by the Plaintiffs in their decision to purchase the

Business and enter into a lease with these Defendants.

       49. Plaintiffs did, in fact, reasonably rely upon said misrepresentations by Defendants

PWP, and/or Nasr and/or Moussa a/k/a Carine Nasr in deciding to purchase the Business.

       50. Business Brokers USA Inc. has engaged in brokering sales of gasoline service

stations, convenience stores, and related businesses owned, controlled, and/or supplied with

gasoline by Defendant PMG under circumstances similar to those alleged herein. Additionally,

another broker, Hamid Nasvaderani has also engaged in such brokering.


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       51. Defendant PMG entered into a Motor Fuel Supply Agreement originally dated May

1, 2006 with Defendant Chady Nasr and a non-party, and said Agreement was assigned to

Defendants Auto Fuels, Inc, Om Sikka and Yash Sikka and Kamala Sikka on August 6, 2008,

and assigned to Plaintiffs Energy Depot, Inc. and Manoj Aggarwal on April 22, 2010

       52. Pursuant to this Motor Fuel Supply Agreement, PMG agreed to sell wholesale motor

fuel to the Plaintiffs on the following terms and conditions: one cent per gallon above PMG’s

cost to purchase the fuel at the terminal, plus transportation plus taxes and fees.

       53. There are a number of unrelated motor fuel terminals in the immediate vicinity of the

Business location, including terminals located in Dumfries, Fairfax, Fredericksburg, Lorton and

Manassas.

       54. Each of these terminals charges a different, and in many instances a materially

different, wholesale price for motor fuel.

       55. Defendant PMG has used different terminals, each charging different wholesale

prices, to provide fuel to Plaintiffs under the Motor Fuel Supply Agreement.

       56. In the course of operating the Business, Plaintiffs were told by Defendant Chady Nasr

that the Motor Fuel Supply Agreement had terminated on April 30, 2011. Plaintiff Manoj

Aggarwal then contacted Tiger Fuel Company, a Virginia wholesale motor fuel supplier which

competes with Defendant PMG. In the course of that contact, the representative of Tiger Fuel

Co. informed the Plaintiff that Tiger Fuel could wholesale motor fuel to the Plaintiffs at a

wholesale price which was $.19 below the price to be charged under the Motor Fuel Supply

Agreement.

       57. Plaintiffs immediately contacted Defendant Chady Nasr and were told in no uncertain


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terms that Nasr, as landlord, would not consent to having the Business supplied by any motor

fuel supplier other than Defendant PMG.

       58. Because the price of the motor fuel is based on a variable pricing based on the

different terminal prices, the Motor Fuel Supply Agreement is an “open-price” contract.

       59. Pursuant to The Virginia Uniform Commercial Code, §8.2 – 305. Open Price Term,

Defendant PMG has an obligation to sell wholesale motor fuel to the Plaintiffs for a reasonable

price fixed in good faith.

       60. In fact, Defendant PMG consistently sold all motor fuel to the Plaintiffs had a greatly

inflated price which was unreasonable and in bad faith, being in some instances higher than the

retail price charged by neighboring gasoline service stations for the same motor fuel. Defendant

PMG knew in advance that it intended to sell motor fuel at such a price to the Plaintiffs, and

Defendant PMG was fully aware of the effect of this pricing structure on the ability of the

Defendant to operate profitably.

       61. At various times, and particularly after being informed of the Tiger Fuel Co. price,

personnel of Defendant PMG reassured the Plaintiffs, falsely, that they would adjust the

wholesale price of motor fuel and provide terms under which the Plaintiffs could operate the

Business more profitably. No such adjustments were ever made.

       62. Despite said promises and reassurances, Defendant PMG continued the policy of

overpricing motor fuel.

       63. Pursuant to the Motor Fuel Supply Agreement, the Plaintiffs were obligated to

purchase all of the motor fuels sold from the Business location from PMG under the terms of

said Agreement.


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        64. Plaintiffs were not able to operate the business profitably because they were never

able to generate a positive cash flow with the wholesale fuel prices charged by Defendant PMG.

        65. In fact, unknown to the Plaintiffs until they ceased operating the Business under

extreme financial duress in early March, 2011, the Business had never been operated profitably.

        66. Defendant PMG has a financial interest in continuing to sell wholesale fuel to the

Business.

        67. Many of the gasoline service station transactions whereby a gas station is sold with

an exclusive gasoline supply agreements with Defendant PMG involve situation similar to the

instant situation, that is, situations in which the former proprietor of a gasoline service station

business is driven out of business by the unreasonably high wholesale gasoline prices charged by

Defendant PMG, and then a set of false and misleading financial documents are prepared and

forwarded to a new buyer who, on reliance on these documents, purchases the business, making a

substantial down payment, and then fails, at which time the cycle repeats. The Plaintiffs in this

case are the third failed business at this location, based on the same set of facts and

circumstances.

        68. A similar situation exists in the case of Kun Lee, et al. v PMG, Case No. 02-C-09-

141082, currently on appeal from the Circuit Court for Anne Arundel County, Maryland. In that

case, Defendant PMG overpriced wholesale gasoline after the Plaintiffs in that case acquired the

service station after it had closed.

        69. In the case of Gondel v. PMG, Civil No. 2011-07927, the plaintiff was provided

materially false and misleading information by Defendant PMG in order to induce the Gondel

plaintiffs to purchase a gasoline service station and related real estate from an affiliate of


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Defendant PMG, a corporation with some common ownership of stock. Thereafter, Defendant

PMG charged unreasonably high wholesale prices and this resulted in the Plaintiffs losing all

their savings and going out of business.

       70. In the case of Hasan et al. v. PMG, Case No. 02-C-06-116010, in the Circuit Court

for Anne Arundel County, Maryland, the jury found that Defendant PMG committed fraud in

inducing the plaintiffs in that case to purchase a gasoline service station from Defendant PMG

where Defendant PMG also supply the motor fuel to this location, under similar terms and

conditions.

       71. The three court cases referenced above all involve a fact pattern where foreign-born

individuals were fraudulent induced to purchase or lease gasoline service stations under the

circumstances as alleged above.

       72. The material false and misleading representations made to the Plaintiffs herein by the

various Defendants, as alleged above, were made by telephone, fax and e-mail as well as being

made in person.

       73. Defendant PMG directly and through affiliates which it controls owns and operates

retail gasoline service stations in the same market area as is served by the Business. According

to Defendant PMG’s web site, http://petromg.com/inner/pmg.html, “In 2009, PMG acquisitions

included 50 wholesale Shell Sites in Northern Virginia.” Many of these sites are owned and/or

operated by independent operators not otherwise affiliated with Defendant PMG. In addition,

Defendant PMG wholesales motor fuels to non-affiliated gas stations in Northern Virginia,

including gasoline stations purchased under the unfair circumstances described herein. These

non-affiliates are supplied in a manner similar to the Plaintiffs.


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        74. Defendant PMG regularly provides motor fuel to the retail gasoline stations which it

owns and operates directly, and also through affiliates and to unaffiliated gas stations at a

materially lower wholesale price than the price charged to the Plaintiffs.

        75. This motor fuel is of the same grade and quality as the motor fuel supplied to the

Plaintiffs. All motor fuel supplied to customers similarly situated with the Plaintiffs is of the

same grade and quality.

        76. John Ghebray, a former employee of Defendant PMG, has informed Plaintiffs that he

was retained by Defendant PMG to operate gas stations which had been vacated by former

owners under the circumstances described herein, and that these gas stations were supplied by

Defendant PMG with motor fuel at a low wholesale price to make it appear to the next buyer as if

the gas stations were selling a higher volume of motor fuel than the next would be able to sell

under the pricing structure of Defendant PMG.

        77. John Ghebray has also informed Plaintiffs that he was instructed by personnel of

Defendant PMG to provide false gas sale volume figures and financial results to prospective

purchasers of gas stations and to other motor fuel customers.

        78. As a direct and proximate result of this price disparity, but Plaintiffs were inhibited

and/or prevented from competing in the sale of motor fuel with other retail gasoline service

stations to which Defendant PMG supplied wholesale motor fuel.



                     COUNT ONE - BREACH OF CONTRACT - LEASE

        79. Plaintiffs, by this reference, reallege all matters in all prior paragraphs herein as if

fully set forth.


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       80. The Defendants PW Petroleum, Inc. and/or Chady Nasr and/or Carine Moussa a/k/a

Carine Nasr breached the Lease by inducing the Plaintiffs to enter into the Lease on the basis of

fraudulent misrepresentations as alleged, and specifically by making representations to the

Plaintiffs that the Business was the operated profitably if supplied by Defendant PMG as alleged.

       81. Said false, misleading and fraudulent misrepresentations also constitute a breach of

any and all agreements related to the Lease as fraud in the inducement.

       82. As a direct and proximate result of said breach, the Plaintiffs are entitled to the

following relief:

       A. Return of all monies paid as rent and related charges;

       B. Reimbursement for losses incurred in acquiring and operating the business in the

amount in excess of $400,000.00;

       C. Damages for lost profits for the period of operations in the amount of approximately

$120,000.00 or more, the actual amount to be proven at trial;

       D. Damages for lost profits of operation projected over the Lease term in the amount of

approximately $360,000.00 or more, the actual amount to be proven at trial;

       E. Punitive damages of $2,000,000.00; and

       F. Pre-judgment and postjudgment interest, costs and attorneys’ fees of this lawsuit.

       WHEREFORE, Plaintiffs demand judgment against the Defendants in the amounts set

forth above, plus prejudgment and postjudgment interest, plus costs and attorney’s fees.



         COUNT TWO - BREACH OF CONTRACT - BUSINESS ACQUISITION

       83. Plaintiffs, by this reference, reallege all matters in all prior paragraphs herein as if


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fully set forth.

        84. The Defendants Om Sikka, Kamla Sikka, Yash Paul Sikka and their corporation,

Auto Fuels, Inc. breached the Business Acquisition Agreement by inducing the Plaintiffs to enter

into said Agreement on the basis of fraudulent misrepresentations as alleged.

        85. Said false, misleading and fraudulent misrepresentations also constitute a breach of

any and all agreements related to the Business Acquisition Agreement, constituting fraud in the

inducement.

        86. As a direct and proximate result of said breach, the Plaintiffs are entitled to the

following relief:

        A. Return of all monies paid related to the acquisition of the Business, including the

purchase price, any due diligence expense and related charges;

        C. Reimbursement for losses incurred in acquiring and operating the business in the

amount in excess of $400,000.00;

        D. Damages for lost profits for the period of operations in the amount of approximately

$120,000.00 or more, the actual amount to be proven at trial;

        E. Damages for lost profits of operation projected over the Lease term in the amount of

approximately $360,000.00 or more, the actual amount to be proven at trial;

        F. Punitive damages in the amount of $2,000,000.00

        G. Pre-judgment and postjudgment interest, costs and attorneys’ fees of this lawsuit.

        WHEREFORE, Plaintiffs demand judgment against the Defendants in the amounts set

forth above, plus prejudgment and postjudgment interest, plus costs and attorney’s fees.




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                             COUNT FIVE - CIVIL CONSPIRACY

        87. Plaintiffs, by this reference, reallege all matters in all prior paragraphs herein as if

fully set forth.

        88. The Sikka Defendants and the Nasir/Moussa Defendants and their related

corporations and Defendant PMG conspired to fraudulently induce the Plaintiffs to purchase the

Business by making the fraudulent misrepresentations alleged above.

        89. This conduct constitutes a civil conspiracy as defined in Va. Code §18.2-500.

        90. As alleged above, the Plaintiffs, as a direct and proximate result of this civil

conspiracy, suffered actual damages in the amount of $880,000.

        91. Pursuant to said section of the Virginia Code, Plaintiffs are entitled to recover treble

damages, that is, the amount of $2,664,000, as well as their costs of this suit and attorney’s fees.

        WHEREFORE, Plaintiffs demand judgment against the Defendants in the amount of

$880,000 trebled to $2,664,000, plus prejudgment and postjudgment interest, costs and attorney’s

fees.



            COUNT SIX - BREACH OF MOTOR FUEL SUPPLY AGREEMENT

        92. Plaintiffs, by this reference, reallege all matters in all prior paragraphs herein as if

fully set forth.

        93. As alleged, Defendant PMG supplied motor fuel to the Plaintiffs at a price which was

unreasonable under the Virginia Uniform Commercial Code.

        94. As a direct and proximate result of this breach of contract, the Plaintiffs’ business

failed and they lost their entire investment in the Business.


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        95. Additionally, as a direct and proximate result of this breach of contract, the Plaintiffs

lost substantial sums of money attempting to keep the business open.

        96. Additionally, Defendant PMG induced the Plaintiffs to continue operating the

Business by making representations to them that the pricing disparities would be rectified

allowing them to operate profitably.

        97. In direct and detrimental reliance on said representations, the Plaintiff continued to

operate the business at a loss for an extended period of time.

        98. The Plaintiffs are entitled to the following relief:

        A. Damages, consisting of all monies paid as rent, as operating losses of the business, as

monies invested in the business and as rent and related charges to all these categories;

        C. Reimbursement for losses incurred in acquiring and operating the business in the

amount in excess of $400,000.00;

        D. Damages for lost profits for the period of operations in the amount of approximately

$120,000.00 or more, the actual amount to be proven at trial;

        E. Pre-judgment and postjudgment interest, costs and attorneys’ fees of this lawsuit.

        WHEREFORE, Plaintiffs demand judgment against the Defendants in the amounts set

forth above, plus prejudgment and postjudgment interest, plus costs and attorney’s fees.

                                    COUNT SEVEN - “RICO”

        99. Plaintiffs, by this reference, reallege all matters in all prior paragraphs herein as if

fully set forth.

        100. As alleged, the Defendant PMG has engaged in a pattern of racketeering, consisting

of defrauding buyers of retail gasoline service stations as alleged, by communicating false,


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fraudulent and misleading information over the telephone calls originating and terminating in the

United States, via e-mail originating in the United States directed to United States recipients, and

via United States mail. In addition to the Plaintiffs, the Defendant PMG has also engaged in the

same pattern of conduct as alleged in the Complaint systematically with others to whom the

Defendants and their affiliates and agents sell property, rent property and supply gasoline.

       101. In the instant case, as alleged, Defendant PMG and the Sikka Defendants and the

Nasr Defendants conspired with Defendant PMG to induce the Plaintiffs to enter into the Motor

Fuel Supply Agreement related to the acquisition of the Business, and lease the Premises,

deliberately withholding from the Plaintiffs information related to the improper and predatory

pricing practices of Defendant PMG, and also making misrepresentations to the Plaintiffs

concerning the profitability and motor fuel sales volume of the Business. This transaction

involved a series of racketeering activities.

       102. All of these Defendants also conspired to provide false and misleading material

information concerning the Business in order to induce the Plaintiffs to purchase and continue to

operate the Business, knowing that the Plaintiffs would purchase and continue to operate the

Business on the basis of such false and materially misleading information. Said false and

materially misleading information was communicated to the Plaintiffs in person, over the

telephone and fax and via email.

       103. Additionally, funds were transferred by mail and wire to and from Defendants

PMG, Nasr and Sikka by Plaintiff Energy Depot, Inc. for motor fuel sales, rent and the purchase

price of the Business.

       104. Defendant PMG for all purposes and, for purposes of the lease and sale of the


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Business transaction, the other corporate Defendants, constitute an “enterprise” as that term is

defined in 18 U.S.C.A. § 1961, engaged in interstate commerce and the activities of which affect

interstate commerce. Such activities in and affecting interstate commerce as alleged.

        105. All of the acts above described were performed by the corporate Defendants, their

agents, employees, officers, directors and/or shareholders, and the misrepresentations as alleged

were distributed by said Defendants to the named brokers for the purposes of implementing these

transactions in interstate commerce as buyers of this Business were solicited interstate and other

businesses in which Defendant PMG was involved as alleged were located in different states, and

sales of motor fuels are made by Defendant PMG in interstate commerce.

        106. The persons involved in the enterprise are the individual Defendants, the corporate

Defendants and their officers, directors, shareholders, employees and agents, Abolhoussein

Ejtemai and the brokers named herein.

        107. Said conduct constitutes a violation of 18 USC §1341 and 1343.

        108. The acts of each Defendant and each employee, agent and representative of each

Defendant, in the capacities as alleged, and separately in their individual capacities, are deemed

to be the acts of, and are chargeable to and binding on every other Defendant with respect to the

sale of the Business. Each instance of use of mails, wires and other transactions and

communications as alleged constitutes a separate criminal act and a separate cause of damage to

the Plaintiffs.

        109. The use of the mails and wire for the purposes of effectuating the scheme to defraud

Plaintiffs constitutes a separate racketeering activity, which occurred on more than one occasion

in the last 10 years, constitutes a pattern of racketeering activity in violation of 18 U.S.C.A. §


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1962, for which treble damages, costs of suit and attorney's fees may be sought under 18

U.S.C.A. § 1964(c). Defendant PMG has engaged in at least the four transactions as alleged.

       110. The individual Defendants and the Corporate Defendants in violation of 18 U.S.C.A.

§ 1962(a), used income (currently exceeding Three Hundred Thousand dollars) derived from a

pattern of racketeering activity in the operation of Defendants’ corporations business for which

treble damages, costs of suit and attorney's fees are required under 18 U.S.C.A. § 1964(c).

       111. The individual Defendants, in concert with each other and with agents or

employees of Defendant PMG, including Abolhoussein Ejtemai, in violation of 18 U.S.C.A. §

1962(c), conducted the affairs of an enterprise engaged in interstate commerce through a pattern

of racketeering activity for which treble damages, costs of the suit and attorney's fees are required

under 18 U.S.C.A. § 1964(c).

       112. The individual and corporate Defendants and their respective agents or employees,

as alleged, in violation of 18 U.S.C.A. § 1962(d), conspired to violate Sections 1962(a) and

1962(c) of Title 18 of the United States Code for which treble damages, costs of suit and

attorney's fees are required under 18 U.S.C.A. § 1964(c).

       113. The individual and corporate Defendants, aided, abetted, counseled, commanded,

induced or procured the commission of the violations of the Federal Mail Fraud, Wire Fraud and

RICO Statutes, and therefore are each liable as principals pursuant to 18 U.S.C.A. § 2.

       114. In addition to the conduct of these Defendants in the instant case, Defendant PMG

has engaged in similar and virtually identical conduct regarding other purchases of gasoline

service stations. In particular, Defendant PMG engaged in misconduct with respect to the


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Gondels.

        115. Plaintiffs are entitled to $888,000 actual damages as specified above.

        116. Plaintiffs also demand punitive damages from the Defendants in the amount of $2

million or such amount has may be proven at trial.

        117. Plaintiffs may also recover from Defendants prejudgment and postjudgment

interest, costs and attorneys fees.

        118. Plaintiffs are entitled to treble damages pursuant to the civil RICO statutory scheme

and they demand treble damages in this case.

        WHEREFORE, Plaintiffs demand judgment against the Defendants in the amount of

$888,000.00, trebled to $2,664,000, plus $2 million in punitive damages, plus prejudgment and

postjudgment interest, costs and attorney’s fees.



            COUNT EIGHT - VIOLATION OF THE ROBINSON-PATMAN ACT

        119. Plaintiffs, by this reference, reallege all matters in all prior paragraphs herein as if

fully set forth.

        120. As alleged, Defendant PMG supplies wholesale motor fuel to other retail gasoline

service stations, particularly those owned and operated by this Defendant and its subsidiaries and

affiliates but including service stations owned by others, at a wholesale motor fuel price

substantially below the wholesale price which it charges the Plaintiffs, in the market area served

by the gas station acquired by the Plaintiffs and in interstate commerce.

        121. Defendant PMG also supplies wholesale motor fuel to other gasoline retailers which

it supplies, which are not its affiliates, at a higher wholesale price.


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       122. All such purchasers as alleged, who purchase wholesale motor fuel from Defendant

PMG at lower wholesale prices as alleged, are favored purchasers.

       123. The disparity in price as alleged constitutes prohibited price discrimination between

the favored purchasers and the Plaintiffs.

       124. Plaintiffs were engaged in competition with actual favored purchasers at all relevant

times, and their ability to compete was illegally damaged by such price competition.

       125. The relevant market area with respect to this Plaintiff is a 500 mile radius from the

Business premises, as an automobile can travel approximately 500 miles on a tank of gas and an

automobile with a full tank of gas within the 500 mile radius could be expected to patronize the

Plaintiff’s Business and other similarly situated businesses located within that radius.

       126. Defendant PMG supplies wholesale motor fuel to favored purchasers within said

500 mile radius.

       127. Said price disparity prevents and, at all relevant times, prevented the Plaintiffs and

others from competing with those gasoline service stations supplied by Defended PMG at lower

wholesale prices.

       128. As such, Defendant PMG has injured competition and, specifically, injured the

ability of the Plaintiffs to compete in the relevant market for retail gasoline sales as alleged.

       129. Pursuant to the Robinson-Patman Price Discrimination Act, 15 USC §2(a) and 15

USC §13, Defendant PMG engaged in unlawful price discrimination as alleged.

       130. Plaintiffs are entitled to $888,000 actual damages as specified above.

       131. Plaintiffs also demand punitive damages from the Defendants in the amount of $2

million or such amount has may be proven at trial.


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        132. Plaintiffs may also recover from Defendants prejudgment and postjudgment

interest, costs and attorneys fees.

        133. Plaintiffs are entitled to treble damages pursuant to the Robinson-Patman and

Virginia statutory scheme and they demand treble damages in this case.

        WHEREFORE, Plaintiffs demand judgment against the Defendants in the amount of

$888,000.00, trebled to $2,664,000, plus $2 million in punitive damages, plus prejudgment and

postjudgment interest, costs and attorney’s fees.

                                          JURY DEMAND

        Plaintiffs demand a trial by jury on all issues.

                                                        Respectfully submitted,


                                                         /s/ Thomas F. DeCaro, Jr.
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